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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

  TIMOTHY KING, et al.,

                Plaintiffs,
  v.                                                Case No. 20-13134
                                                    Honorable Linda V. Parker
  GRETCHEN WHITMER, et al.,

                Defendants,

  and

  CITY OF DETROIT,
  DEMOCRATIC NATIONAL
  COMMITTEE and MICHIGAN
  DEMOCRATIC PARTY, and
  ROBERT DAVIS,

             Intervenor-Defendants.
  ______________________________/

                                     ORDER

        Presently before the Court is a Motion for Order to Show Cause Why

Attorney Lin Wood Should Not be Held in Criminal Contempt for Violating Local

Rule 83.32(d)(3) and (e)(2). (ECF No. 151.) On the morning of July 12, 2021, the

Court held a virtual hearing regarding three pending motions for sanctions.

“[W]ithin hours of the close of those proceedings,” it appears L. Lin Wood “posted

a video snippet on his more than 840,000-follower” social media account. (Id. at

Pg ID 5271 (citations omitted).)
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      Eastern District of Michigan Local Rule 83.32(e)(2) prohibits “the . . .

broadcasting of Judicial Proceedings by radio or television or other means.” The

movant notes that violators may be held in criminal contempt of court and

disciplined in accordance with Local Rule 83.22, and requests that the Court

consider the former. (ECF No. 151 at Pg ID 5772-73 (citing E.D. Mich. L.R.

83.32(g)(1), (3)).) The Court declines but will consider the latter.

      Accordingly,

      IT IS ORDERED that the Motion for Order to Show Cause Why Attorney

Lin Wood Should Not be Held in Criminal Contempt for Violating Local Rule

83.32(d)(3) and (e)(2) (ECF No. 151) is GRANTED IN PART AND DENIED

IN PART.

      IT IS FURTHER ORDERED that L. Lin Wood shall show cause, in

writing, by July 22, 2021, why he should not be disciplined in accordance with

Local Rule 83.22(d) for “broadcasting” the proceeding on social media in violation

of Local Rule 83.32(e)(2).

      IT IS SO ORDERED.

                                               s/ Linda V. Parker
                                               LINDA V. PARKER
                                               U.S. DISTRICT JUDGE
 Dated: July 15, 2021




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